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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
 JLG                                               610 Federal Plaza
 F. #2016R01021                                    Central Islip, New York 11722


                                                   August 29, 2022


 By ECF

 The Honorable Gary R. Brown
 United States District Judge
 United States District Court
 Eastern District of New York
 100 Federal Plaza
 Central Islip, New York 11722

               Re:    United States v. Enrique Portillo,
                      Criminal Docket No. 16-403 (S-7)(GRB)

 Dear Judge Brown:

                We write on behalf of the government in the above-captioned matter, to
 respectfully apprise the Court that the Department of Justice has authorized and directed the
 United States Attorney’s Office for the Eastern District of New York not to seek the death
 penalty against defendant Enrique Portillo.

                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:     /s/ Justina L. Geraci
                                                   John J. Durham
                                                   Paul G. Scotti
                                                   Justina L. Geraci
                                                   Megan E. Farrell
                                                   Assistant U.S. Attorneys
                                                   (631) 715-7900

        cc:    Deborah Colson, Esq. (by ECF)
               David Stern, Esq. (by ECF)
